              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

IN RE: SUBPOENA TO NON-PARTY
LINDSEY O. GRAHAM in his official
capacity as United States Senator,

In the matter of:                                          CIVIL ACTION NO.
                                                           1:22-cv-03027-LMM
SPECIAL PURPOSE GRAND JURY,
FULTON COUNTY SUPERIOR
COURT CASE NO. 2022-EX-000024

                 RESPONSE IN OPPOSITION
     TO MATERIAL WITNESS SENATOR LINDSEY O. GRAHAM’S
               EXPEDITED MOTION TO QUASH

     Comes now, Fani T. Willis, District Attorney, Atlanta Judicial Circuit, and

makes the following Response to the Expedited Motion to Quash filed by

material witness Senator Lindsey O. Graham (“Movant”) by showing and stating

the following.

                         STATEMENT OF THE CASE

     Pursuant to the requirements of O.C.G.A. § 15-12-100, a January 24, 2022

order was entered convening a Fulton County special purpose grand jury and

authorizing it to investigate “the facts and circumstances relating directly or

indirectly to possible attempts to disrupt the lawful administration of the 2020

elections in the State of Georgia.” A central focus of the investigation is former

President Donald Trump’s January 2, 2021 telephone call to Georgia Secretary of
State Brad Raffensperger requesting that the Secretary “find 11,780 votes” in the

former President’s favor. The special grand jury was sworn on May 2, 2022; it

began receiving evidence in June of 2022.

     During the course of its investigation, the special purpose grand jury heard

from, inter alia, Secretary Raffensperger and his subordinate, Gabriel Sterling.

Both of these witnesses had knowledge of telephone calls placed from Movant to

Raffensperger in the weeks immediately after the November 3, 2020 election.

Both Raffensperger and Sterling have publicly discussed Movant’s inquiry to

Raffensperger about conducting an audit of Georgia mail-in ballots and the

desirability of discarding all mail-in ballots from counties with higher rates of

signature disparities. As Raffensperger told CBS News in November of 2020,

“Senator Graham implied for us to audit the envelopes and then throw out the

ballots for counties who have the highest frequency error of

signatures.”1 Movant also repeated baseless allegations to Raffensperger of

widespread voter fraud in Georgia and elsewhere, allegations that mirrored the




1
      https://www.cbsnews.com/news/georgia-election-brad-raffensperger-
lindsey-graham-throw-out-ballots/.


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claims being publicly made by then President Trump and persons associated with

his campaign.2

      Movant has publicly characterized his telephone conversations with

Raffensperger as part of his personal effort to learn how the Georgia voting

process worked; that he was “only acting as a United States senator who is

worried about the integrity of the electoral process”; and that he was only

exploring a hypothetical when he questioned Raffensperger about whether all the

mail-in ballots from certain counties could be thrown out because of signature

disparities.3

      The position Movant takes now is inconsistent with his previous statements.

First, just after news of the phone calls broke, Movant made two statements on

November 17, 2020 in which he discussed what he had said. Movant disputed

Raffensperger’s suggestion that he had implied ballots should be thrown out by

saying he “talked to him about how you verify signatures. Right now a single

person verifies signatures, and I suggested as you go forward, can you change it




2
      https://www.newsweek.com/lindsey-graham-subpoena-georgia-ballots-
brad-raffensperger-1722033;
https://www.washingtonpost.com/opinions/2022/07/09/lindsey-graham-georgia-
grand-jury/.
3
      https://www.vox.com/2020/11/18/21571684/lindsey-graham-brad-
raffensperger-georgia-ballots.


                                         3
    to make sure that a bipartisan team verifies signatures, and if there’s a dispute,

    come up with an appeal process.” When asked why a senator from a different

    state would make such a call to a Georgia official, Movant replied, “Because the

    future of the country hangs in the balance.”4 In a conversation with another

    reporter, Movant again denied he had suggested that ballots be thrown out,

    saying, “That wasn’t my intent, and that wasn’t the purpose of the conversation,

    to throw out ballots. We’re talking about an election we haven’t even had yet,

    which is the Senate races. That was my focus, is how you verify signatures.

    We’ve got a new Senate race coming up. Is there anything we can do to make it

    better.”5

          Additionally, on December 8, 2020, Movant appeared on Fox News and

    argued that Georgia needed to conduct an audit of the mail-in ballot signatures in

    the presidential race because “civil war is brewing in Georgia” – essentially the

    same assertion both Raffensperger and Sterling said that Movant made to them.

    Further, Movant frequently appeared on Fox News and other outlets to spread

    election fraud disinformation consistent with unsubstantiated claims being made



4
      https://www.nbcnews.com/politics/2020-election/georgia-secretary-state-
raffensperger-says-sen-graham-asked-him-about-n1247968
    5

    https://archive.org/details/CNNW_20201118_010000_Anderson_Cooper_360/sta
    rt/2400/end/2460

                                              4
by the Trump campaign.6 On Fox Business just days before his telephone call to

Raffensperger: “‘Trump has not lost,’ [Movant] said before making a direct plea

to the president. ‘Do not concede, Mr. President, fight hard.’”7

     Movant’s benign interpretation of his telephone conversations with

Raffensperger and Sterling was not consistent with the two Georgia officials’

interpretations that Movant “implied for us to audit the envelopes, and then throw

out the ballots for counties who has the highest frequency error of signatures.”8

Sterling even granted that while there was definitely some conversation about the

upcoming Senate runoffs, there was “also a secondary conversation, looking

backwards” about whether there should have been more rejections, and whether

that could support a “potential court challenge.”9 Movant’s public

representations about the “hypothetical” nature of his inquiries to Raffensperger

are simply not consistent with his statements that Georgia needed to conduct an


6
       https://opoyi.com/usa/republican-senators-back-donald-trumps-allegation-
of-election-fraud-301239/; https://www.salon.com/2020/11/09/trump-has-not-
lost-lindsey-graham-makes-unsubstantiated-claims-that-dead-people-voted-in-
election/.
7
    https://www.salon.com/2020/11/09/trump-has-not-lost-lindsey-graham-
makes-unsubstantiated-claims-that-dead-people-voted-in-election/.
8
      https://www.vox.com/2020/11/18/21571684/lindsey-graham-brad-
raffensperger-georgia-ballots
9

      https://archive.org/details/CNNW_20201118_010000_Anderson_Cooper_3
60/start/2400/end/2460

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audit of all mail-in ballot signatures to find disparities or face “civil war.”

Movant especially does not confront the fact that he clearly stated he exhorted

Raffensperger to change Georgia’s methods of signature verification to a process

which Movant preferred, or that Movant was explicitly attempting to persuade

Raffensperger to do so not because of some hypothetical future legislative act, but

because Movant wanted different processes in place for the Senate runoff

elections. Further, Movant’s public statements that he was simply making an

effort to learn how the Georgia voting process worked was not consistent with his

public support, encouragement, and abetting of the Trump campaign’s efforts to

spread almost identical misinformation about election fraud in Georgia and

elsewhere.

     Facially, Movant’s actions certainly appear interconnected with former

President Trump’s similar efforts to pressure Georgia election officials into

“finding 11,780 votes” and to spread Georgia election fraud disinformation.

Thus, Movant’s actions fall within the investigative purview of the special

purpose grand jury to investigate and determine the facts of potential

interconnectedness, which should include Movant’s sworn testimony (as opposed

to cable news commentary) about the circumstances that spurred his telephone

calls, with whom he consulted prior to the calls, what Movant sought and




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obtained by his conversation with the Georgia officials, and whom Movant

consulted after Raffensperger declined his entries.

     The District Attorney followed Georgia’s Uniform Act to Secure the

Attendance of Witnesses from Without the State, O.C.G.A. § 24-13-90 et seq.,

and secured a Certificate of Material Witness for the testimony of Movant.10 A

subpoena was issued for Movant to testify before the grand jury, and he accepted

service. Movant filed a Notice of Removal to this Court pursuant to 28 U.S.C. §

1446. State of Fla. v. Cohen, 887 F.2d 1451, 1453-1454 (11th Cir. 1989).

Movant subsequently filed an Expedited Motion to Quash the material witness

subpoena for his testimony and Memorandum in Support on July 29, 2022. (Dkt.

2). The State’s Response has been ordered by noon on August 4, 2022. (Dkt. 5).

                                   ARGUMENT

     While Movant makes three arguments supportive of his effort to persuade

the Court to quash the subpoena in its entirety, he primarily relies on the privilege

derived from the Speech or Debate Clause of the United States Constitution.

Found in Art. 1, § 6, cl. 1, the provision states in pertinent part that United States

Senators and Representatives,



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      Movant’s concern that the State obtained the Certificate of Material Witness
“ex parte” is inapt. Br. at 3. There are no “parties” to the grand jury
investigation. Movant’s testimony is being sought as a material witness and the
State followed the statutory procedures to compel his attendance.

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      shall in all Cases, except Treason, Felony and Breach of the Peace, be
      privileged from Arrest during their Attendance at the Session of their
      respective Houses, and in going to and returning from the same; and for
      any Speech or Debate in either House, they shall not be questioned in
      any other Place.

The privilege has been interpreted by the United States Supreme Court to protect

activities other than speech or debate that fall within the “legitimate legislative

sphere,” requiring a review “to see whether the activities took place in a session of

the House by one of its members in relation to the business before it.” Eastland v.

United States Servicemen’s Fund, 421 U. S. 491, 503 (1975). In a seminal case,

Gravel v. United States, the Court further defined protected activities:

      Insofar as the Clause is construed to reach other matters, they must be
      an integral part of the deliberative and communicative processes by
      which Members participate in committee and house proceedings with
      respect to the consideration and passage or rejection of proposed
      legislation or with respect to other matters which the Constitution
      places within the jurisdiction of either House.

Gravel v. United States, 408 U. S. 606, 625 (1972); accord, Eastland v. USSF,

supra. In other words, courts have extended the Speech or Debate privilege to

matters beyond pure speech and debate in either House, but only when necessary

to prevent impairment of actual legislative deliberations. Gravel v. United States,

supra at 625. Notably, the privilege protects only activities which involve

references to actual legislative acts of the congressional member; a member who is

considering how he or she might perform a legislative act in the future or how to

vote in the future “is simply not performing a legislative act; a promise to do

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something is, of course, not the same thing as doing it.” United States v. Renzi,

686 F. Supp. 2d 956, 974 (Az. 2009). This principle goes hand in hand with the

understanding that the broad construction of the Speech or Debate clause “has

always been confined within the limits of formal, official proceedings.” Id. at 978

(emphasis supplied), citing Bastien v. Office of Sen. Ben Nighthorse Campbell, 390

F3d 1302, 1314-1315 (10th Cir 2004). The need for formal legislative procedure

includes “the importance of legislative formality of information gathering.” United

States v. Renzi, supra at 978 (emphasis supplied), citing Gravel v. United States,

supra at 620-621, 625.

      Further and as it relates to the matter before the Court, the Speech or Debate

privilege is intended to spare a legislator “from having to devote his time and

efforts to defending himself in court.” United States v. Dowdy, 479 F2d 213, 221

(4th Cir. 1973) (emphasis supplied). The privilege secured by the Speech or Debate

Clause does not protect members against prosecutions for their own benefit but to

support the rights of their constituents to have them “execute the functions of their

office without fear of prosecutions.” Tenny v. Brandhove, 341 U. S. 367, 373-374

(1951); accord Eastland v. USSF, supra at 503. The privilege implicates “a right

not to be tried.” United States v. Shalhoub, 855 F3d 1255, 1260 (11th Cir. 2017);

accord, Yeldell v. Cooper Green Hosp., 956 F2d 10561061 (11th Cir. 1992).

Pertinently, the official seeking Speech or Debate protection “must show that such


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immunity is justified for the governmental function at issue.” Bryant v. Jones, 575

F3d 1281, 1304 (11th Cir. 2009).

I.    THE SPEECH OR DEBATE PRIVILEGE DOES NOT PROVIDE
      MOVANT WITH PROTECTION FROM THE MATERIAL
      WITNESS SUBPOENA SEEKING TESTIMONY ABOUT THIRD-
      PARTY CRIMES.

      Movant cannot assert the Speech or Debate privilege to quash the State’s

subpoena seeking his testimony as a witness before the special purpose grand jury

investigating third-party crimes. The U. S. Supreme Court expressly held in

Gravel, supra, that the privilege does not

            immunize Senator or aide from testifying at trials or grand jury
            proceedings involving third-party crimes where questions do not
            require testimony about or impugn a legislative act.

Id. at 622; accord United States v. Dowdy, supra at 222.

      Since the State has already established materiality pursuant to O.C.G.A. §

24-13-90 et seq., a subpoena to secure Movant’s sworn testimony with respect to

third-party criminal conduct under valid investigation by the grand jury is proper,

as long as the questions do not implicate any legislative act promoted by the

Senator. Id. at 628. And there are sufficient areas of inquiry for the grand jury

outside any legislative act Movant may have been involved in to make quashal of

the subpoena inappropriate. The grand jury is entitled to hear Movant’s sworn

testimony about, inter alia, the circumstances leading to his telephone calls to

Raffensperger, what Movant sought and obtained from the conversation, and any

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coordination either before or after the calls with the Trump campaign’s post-

election efforts in Georgia.

      A.     Movant’s efforts to Distinguish Gravel Fall Short

      Movant attempts to avoid the plain holding in Gravel by making several

strawman arguments—none bear scrutiny. First, Movant claims that his telephone

calls to Raffensberger are, themselves, “legislative acts.” He improbably claims

that, under Gravel, this “legislative activity” is protected because his telephone

calls to Raffensperger were the exercise of his “duties” as a Senator and

“Committee Chair” to investigate voting integrity and irregularities “before voting

to certify Joe Biden as President.” Br. at 5, 9, 10, 17. This is, of course, a

meritless assertion. Personal telephone calls such as the one Movant made may

seek “information,” but the telephone calls are not themselves “legislative acts.”

“The Clause does not, however, bar an inquiry into activities that are casually or

incidentally related to legislative affairs, but not a part of the legislative process

itself.” United States v. Jefferson, 546 F3d 300 310-311 (4th Cir. 2008), citing

United States v. Brewster, 408 U. S. 501, 512 (1972).

      Movant’s actions here amount to no more than an individual inquiry—

perhaps related to legislative affairs, perhaps not—but certainly not part of any

legislative process. Personal areas of a legislator’s interest do not become




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legitimate legislative business just because a legislator finds some subjective

overlap between the two.

      On the face of his claim, Movant demonstrates that his telephone calls to

Raffensperger were not any part of a formal Senate investigation, information-

gathering process, or legislation. Instead, Movant argues that his telephone calls

were personal attempts to gather information in preparation for his own future

action—voting to certify the electoral votes. Even if one accepts that framing, the

Speech or Debate privilege does not extend to informal “investigations” by an

individual Senator to gather information for the purpose of affecting his future

votes or his future efforts to craft proposed legislation. United States v. Renzi,

supra at 978, citing Gravel, supra at 620-621, 625. There must be actual pending

legislation or a formal Congressional investigation pursuant to passage of

legislation. Id.

      The substance of Movant’s telephone calls as publicly disclosed by

Raffensperger and Sterling, in addition to those made by Movant himself,

demonstrate that Movant’s calls were not an attempt to investigate and resolve

concerns about Georgia’s electoral process for himself and “his constituents.” Br.

at 12. Movant explicitly told reporters that he had tried to persuade Raffensperger

to adopt a different method of signature verification, one which Movant preferred

to the method being used at the time in Georgia. He went further to say that he


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wanted to discuss how Raffensperger could make the process “better,” explicitly

not for some future legislative purpose, but to alter either the ongoing recounts or

the upcoming Senate runoff elections. Movant thus, in his own words, clarified

that he had “cajoled” or “exhorted” an executive branch official to administer his

duties in a certain way, precisely the sort of activity which has been found outside

the sphere of protected legislative activity. See Gravel, 408 U.S. at 625. As the

Court succinctly put it:

             No argument is made, nor do we think that it could be
             successfully contended, the Speech or Debate Clauses reaches
             conduct, such as was involved in the attempt to influence [the
             Georgia Secretary of State], that is in no wise related to the due
             functioning of the legislative process.

Gravel, supra at 624.

      When combined with the recollections of Raffensperger and Sterling, a

reasonable observer may conclude Movant was seeking to cajole Raffensperger

into conducting an audit of Georgia mail-in ballot signatures and to discard all

mail-in votes from those counties with a high proportion of signature disparities—

a move that would benefit Movant’s political ally. As Raffensperger publicly said

soon after Movant’s calls, “It sure looked like he was wanting to go down that

road”.11 In support of Raffensperger’s interpretation, Movant reiterated on Fox


11
      https://www.vox.com/2020/11/18/21571684/lindsey-graham-brad-
raffensperger-georgia-ballots.

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News—weeks after his phone call with Raffensperger—that Georgia needed to

conduct an audit of mail-in ballots and signature verifications or face “civil war.”

Once again, Gravel provides clarity; there, the Court held that cajoling and

exhortations by Members of Congress in an attempt to influence the actions of

others “is not protected legislative activity.” Gravel, supra at 624; accord, Renzi,

F. Supp. 2d, supra at 973.

      Attempts to frame these telephone calls as a part of his “duty” as a Senator

and “Committee Chair” to ensure election integrity do not fare any better. Movant

makes no effort at all to identify where this “duty” originates, and clearly most

out-of-state Senators did not share Movant’s perception of “duty” since calls to

Raffensperger were not forthcoming from any other Senator.12 To the contrary,

Movant’s contact with Georgia Secretary of State was far outside the norm, and

the unusual activity that mirrored the Trump campaign’s own efforts to potentially

disrupt the Georgia election certification process is well within the scope of the

grand jury’s investigation.




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  Indeed, Gravel notes that it is a common practice for Members of Congress to
contact officials within the “Executive Branch of the Government and with
administrative agencies -- they may cajole, and exhort with respect to the
administration of a federal statute.” 408 U.S. at 625 (emphasis added). There is
certainly no indication that calling state-level executives in a state which a
Senator does not even represent is in any way “commonplace.”

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      The Constitution provides that it falls to the States to prescribe “the Times,

Places and Manner of holding Elections for Senators and Representatives,” Art. I,

§ 4, cl. 1, and the Supreme Court has recognized that “States retain the power to

regulate their own elections.” Burdick v. Takushi, 504 U. S. 428, 433 (1992);

accord, Woods v. Raffensperger, 501 F. Supp. 3d 1310, 1325 (N.D. Ga. 2020).

Further, oversight responsibility of election issues is in the Senate Rules

Committee, not Movant’s Judicial Committee. Under these circumstances,

Movant had no identifiable “duty” as a Senator or Judicial Committee chair to

make personal, individual calls to Raffensperger about Georgia’s mail-in ballots

and signature verifications.13 Consequently, Movant’s telephone calls,

themselves, are not privileged “legislative acts” since they are not “an integral

part of the deliberative and communicative processes” by which Members

participate in committee and House proceedings or any other subject within

Congress’ constitutional jurisdiction. Gravel, supra at 625 (emphasis supplied).

      B.     Inquiry into Third-Party Criminal Conduct is Permitted

      Despite Gravel’s clear holding to the contrary, Movant asserts to this Court

that, “There is no ‘third-party criminal conduct’ exception to the Clause.” Br. at


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      Considering Georgia’s right to regulate of its own elections, Movant’s
telephone calls to Raffensperger seeking an audit of Georgia’s mail-in ballots and
signature verifications may appear to be interference as opposed to “duty.”


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16-17. Since that is patently untrue on the face of the Gravel opinion, it is

unsurprising that Movant’s arguments fail to support that assertion.

      Movant first argues that Gravel found it “incontrovertible” that the Speech

and Debate Clause protects legislative activity taken in preparation for a

committee hearing. What is actually incontrovertible is that Movant’s telephone

calls to Raffensperger were not made in preparation for a “committee hearing.”

Upon closer examination, it becomes apparent that Movant is alleging his

telephone calls are “legislative acts” made in preparation for a “committee

meeting,” i.e., the Senate’s vote to certify Joe Biden as President.14

      The main problem with this argument is Movant’s failure to create a nexus

between his personal phone calls to Raffensperger and what he considers the

“committee meeting,” i.e., the Senate’s act of certifying the vote. In fact,

Movant’s argument clearly illustrates that the phone calls to Raffensperger were

undertaken to further his personal, political interest alone. He directs this Court to

no evidence that he contacted Raffensperger in furtherance of any interest of a



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      Again, Movant’s own statements make clear that his conversation with
Raffensperger had nothing to do with his vote to certify Georgia’s votes. Instead,
Movant clarified that while some had “said the [Georgia] secretary of state took
the law in his own hands” or acted “unlawfully,” a “Federal judge said no[,] [and]
I accept the Federal judge.” It was not his conversation with Raffensperger that
led to Movant’s action, or even a change in signature verification processes
(which does not seem to have even occurred); it was simply the findings of a
federal judge. See Movant’s Memorandum, p. 14.

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“committee” or in relation to any committee’s legislation.15 No protection is

warranted “unless the information is being gathered as part of, and in connection

with, or in aid of a legitimate legislative act.” United States v. Renzi, supra at 977.

      Movant next argues that Gravel does not “sweep as broadly” as to

encompass a third-party criminal conduct exception to the Speech or Debate

Clause because to do so would interfere with lawmaker’s abilities to “focus on

their public duties.” Br. at 17. He cites the 11th Circuit’s decision in In re

Hubbard, 803 F3d 1298 (11th Cir. 2015). However, Hubbard involved a civil

action, not a criminal investigation into a third-party’s actions. Further, Hubbard

involved lawmakers’ assertion of the privilege in relation to subpoenas for the

production of documents related to their passage of legislation. Since the

privilege “protects the legislative process itself,” the privilege protected the

sought-after documents “whether or not the legislators themselves have been

sued.” Id. at 1308. Hubbard did not mention Gravel, and the Hubbard case was

completely unrelated to Gravel’s exception for a legislator’s testimony at trial or

grand jury proceedings involving third-party crimes. The Hubbard case is not


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     The one hearing conducted by Movant concerning the election, to which he
points in his brief, called the executives of Facebook and Twitter as witnesses in
order to discuss “censorship” of opinions on social media. No serious contention
can be mad that this hearing had anything to do with Movant’s phone calls to
Secretary Raffensperger. See Breaking the News: Censorship, Suppression, and
the 2020 Election, https://www.judiciary.senate.gov/meetings/breaking-the-news-
censorship-suppression-and-the-2020-election.

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applicable here.16 There is simply no support for his claim that, “There is no

‘third-party criminal conduct’ exception to the Clause.” Br. at 17.

     In objecting to an accurate reading of Gravel, Movant next argues that

“other courts” including the U. S. Supreme Court, itself, have “refused to read

Gravel broadly” so as to encompass a third-party criminal conduct exception to

the Speech or Debate Clause. Br. at 18. None of the cited cases support

Movant’s claim. In United States v. Dowdy, for example, supra at 225, fn. 20,

the lawmaker was the criminal target from the onset. His grand jury

testimony was for the purpose of asking him about specific statements that he

then denied making. Dowdy was convicted of perjury and other offenses related

to his legislative acts and motivations for performing them. Id. at 225.

Notwithstanding, the 4th Circuit in Dowdy recognized the Gravel exception

related to grand jury testimony, even where the lawmaker is the target of the

criminal investigation. In fact, the court affirmed Dowdy’s perjury convictions

stemming from his grand jury testimony. Id. at 224 B, 225 fn. 20. What it

ultimately proscribed was any conviction based upon a congressman’s



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      Additionally, Movant’s complaints about “inability to focus on public
duties” is not the standard for application of the privilege. The privilege
implicates “a right not to be tried,” not a right not to be distracted. United States
v. Shalhoub, 855 F3d 1255, 1260 (11th Cir. 2017); accord, Yeldell v. Cooper
Green Hosp., 956 F2d 10561061 (11th Cir. 1992).


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preparation for a subcommittee hearing, as that legislative preparation fell

withing the Speech or Debate privilege. As the 4th Circuit later explained,

              What we found offensive in Dowdy was not that the grand jury
              may have considered legislative acts, but that proof of such acts
              was actually presented at trial.

United States v. Jefferson, supra at 314.17

        Here, contrary to Movant’s claim, Dowdy did not involve a lawmaker’s

testimony to a grand jury investigating a third-party’s criminal acts, and Dowdy

did not seek to limit Gravel’s privilege exception as to third-party criminal acts.

United States v. Dowdy, supra at 222. The Dowdy case is simply not applicable

here.

        Movant also claims the U. S. Supreme Court, itself, has refused to read its

Gravel case “broadly” so as to encompass a third-party criminal conduct

exception to the Speech or Debate Clause. He relies upon Eastland v. USSF,

supra at 507-508, for this proposition—a decidedly misplaced reliance.

        Eastland was a civil case involving the Senate Subcommittee on Internal

Security’s investigation into a nonprofit organization, USSF, pursuant to a Senate

resolution to perform such investigation. In furtherance thereof, the subcommittee



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      Ultimately, the Jefferson court found that pretrial in camera review by the
district court was sufficient to protect against the unauthorized use of grand jury
material protected by the Speech or Debate privilege as legislation. Id. at 314.


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served a subpoena duces tecum on USSF’s bank to obtain their bank records. The

lower court enjoined the production of the documents. The Eastland court held

that the Speech or Debate Clause provided complete immunity for the

subcommittee’s issuance of the subpoena because it was acting within the Senate’s

legislative authority. It was USSF that tried to rely on Gravel, not the lawmakers.

USSF cited language in Gravel that the Eastland court found “unwarranted,” since

unlike the subcommittee’s proper legislative actions “the quoted language from

Gravel referred to actions which were not ‘essential to legislating.’” Eastland,

supra at 507-508.

      So, contrary to Movant’s claim, Eastland did not seek to limit Gravel or

construe it more narrowly, and Eastland did not involve Gravel’s third-party

criminal conduct exception to the Speech or Debate Clause. Eastland is

completely inapplicable here. And Movant has again failed to support his claim,

“There is no ‘third-party criminal conduct’ exception to the Clause.” Br. at 17.

      Movant’s favored reading of Gravel cannot be reconciled with the actual

caselaw. He is simply wrong to assert that Gravel:

      “stands at most for the proposition that a grand jury may question a
      representative if its criminal inquiry ‘focuses on the manner and methods’
      by which the representative illegally came to his information – e.g., when
      the allegation is that the Senator stole or received ‘stolen classified
      papers.’”




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Br. at 18. That overly restrictive read of Gravel is baseless for several reasons.

First, the “focuses on manner and methods” language upon which Movant relies is

from the 4th Circuit’s fn. 20 in Dowdy, supra at 225. However, the language in fn.

20 in Dowdy cannot impose limitations on the plain language of the United States

Supreme Court’s ruling in Gravel, and that Court recognized no such limitations.18

It is well settled that the United States Supreme Court’s decisions remain binding

precedent until that Court sees fit to reconsider them. Hohn v. United States, 524

U. S. 236, 252-253 (1998); accord, Meders v. Warden, 911 F3d 1335, 1351 (11th

Cir. 2019). So, while the 4th Circuit in fn. 20 indicated its intent to limit its own

inquiry to “the manner and methods” by which a criminal defendant lawmaker

obtains certain information, nothing in Gravel supports that self-imposed

limitation.19 Movant’s claim that Dowdy’s fn. 20 is precedent that should control

this Court application of Gravel to his Expedited Motion to Quash is totally

baseless. Moreover, Movant is not a criminal defendant lawmaker so as to make

Dowdy’s fn. 20 applicable.




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    In fact, the 4th Circuit expressly recognized that exceptions to Speech or
Debate privilege under Gravel might be applicable in Dowdy, but declined to read
Gravel “literally.” Dowdy, supra at 225, fn. 20.
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     Indeed, the 4th Circuit apparently abandoned its limitation during its
discussion of Dowdy in its subsequent Jefferson case, supra. at 314.


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      Second, Movant’s entire assertion goes to grand jury inquiries involving

criminal defendant lawmakers. His assertion makes that clear with its oddly

specific contentions that a representative must “illegally” obtain documents and

there must be “allegations” that a Senator “stole or received stolen” classified

documents. Br. at 18. However, that is not Movant’s posture before this Court.

Movant’s “illegality” assertions do not even address Gravel’s Speech or Debate

exception for testimony “involving third-party crimes where the questions do not

require testimony about or impugn a legislative act.” Gravel, supra at 623

(emphasis added). While Gravel does not permit a “freewheeling inquiry into a

Senator’s investigations and factfinding” that involve the Senator’s legislation

functions, Gravel also does not permit the Speech or Debate Clause to preclude a

Senator’s testimony to a grand jury “when another’s criminal conduct is

involved.” Br. at 18. Movant’s assertions seem to simply wish away the crux of

the matter—Gravel’s third-party crimes exception.

      Finally, Movant buries in a footnote a novel claim that even if Gravel did

establish a Speech or Debate exception for third-party crimes where the

questions do not require testimony about or impugn a legislative act, Gravel at

623, that exception would not apply here because the subpoena is a state

proceeding and “not a federal criminal investigation or prosecution.” Br. at 18, fn.

16. Movant claims that a federal criminal investigation is the “only time Gravel’s


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supposed exception could even conceivably apply.” Id. There is no merit to this

claim. Movant fails to state why the application of Gravel’s third-party crime

exception to a state’s proceedings is so “inconceivable” to him. And, of course,

Movant’s assertion begs an answer to the question: if Gravel’s application of the

Speech or Debate privilege applies to the State grand jury proceedings—an

application which Movant has asserted throughout his Memorandum—why

wouldn’t Gravel’s exception to the privilege be equally applicable to the SPGJ

State proceedings? Logically, the answer to that question undercuts Movant’s

claim.

         Before this Court, Movant has not met his burden to show that Speech or

Debate immunity “is justified for the governmental function at issue.” Bryant v.

Jones, 575 F3d 1281, 1304 (11th Cir. 2009). He has not shown that his telephone

calls with Raffensperger were either legislative investigations and or related to a

legitimate legislative act. Further, Movant has not shown the Speech or Debate

privilege immunizes him from “testifying at trial or grand jury proceedings

involving third-party crimes where questions do not require testimony about or

impugn a legislative act. Gravel, supra at 622. Indeed, as the 4th Circuit

determined in Jefferson, supra at 313, there can be sufficient procedural protection

to ensure Movant receives any Speech and Debate protections to which he is




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legitimately entitled while still requiring his testimony at the grand jury. Under

these circumstances, Movant has failed to establish a basis for quashal.

II.   SOUVEREIGN IMMUNITY IS NO BAR TO SECURING
      MOVANT’S COMPLAIANCE WITH A LAWFULLY ISSUED
      SUBPOENA FOR TESTIMONY IN A GRAND JURY’S CRIMINAL
      INVESTIGATION.

      Absent a waiver, sovereign immunity shields the Federal Government and

its agencies from suit. FDIC v. Meyer, 510 U. S. 471, 475 (1994). Here, to the

extent that sovereign immunity is at all relevant, Movant is not being subject to

suit. So, his material witness testimony with regard to third-party criminal

investigation is not precluded by sovereign immunity. FDIC v. Meyer, supra;

Loeffler v. Frank, 486 U. S. 549, 554 (1988).20

      Indeed, Movant has no immunity as a witness in a criminal case or

investigation for which he has been lawfully subpoenaed. Gravel, supra at 615.

             The constitution gives to every man, charged with an offense, the
             benefit of compulsory process, to secure the attendance of his
             witnesses. I do not know of any privilege to exempt members of
             congress from the service, or the obligations of a subpoena in
             such cases.




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       Movant’s citations to cases that allow the head of an Executive department
 to prevent his subordinate from giving expert testimony in a civil proceeding are
 completely inapplicable to Movant’s efforts to quash the grand jury subpoena.
 See, e.g., Br. at 21 citing to Boron Oil Co. v. Downie, 873 F2d 67, 70 (1989).


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Id. (emphasis in original). Consequently, Movant’s sovereign immunity claims

present no basis for granting the Expedited Motion to Quash.


III.   AN “EXCEPTIONAL CIRCUMSTANCES” SHOWING IS NOT
       APPLICABLE TO A MATERIAL WITNESS SUBPOENA TO
       APPEAR BEFORE A GRAND JURY CONDUCTING A CRIMINAL
       INVESTIGATION.

       Movant asserts that he is a high-ranking government official, and thus, the

State cannot “justify forcing a sitting Senator to testify before a county grand jury”

absent a showing of “exceptional circumstances.” Br. at 23. Movant’s claim is

meritless. No “exceptional circumstances” need be shown when the State has

served a material witness subpoena to a legislator (rather than an executive branch

official) in a grand jury criminal investigation. Every case replied upon by

Movant for his “exceptional circumstances” argument involved a civil proceeding

in which a high-ranking official was subpoenaed to provide agency/departmental

information that a subordinate official could as easily provide. See, e.g., In re

United States, 985 F2d 510, 512 (11th Cir. 1993); In re U. S. Dep’t of Educ., 25

F.4th 692, 700 (9th Cir. 2022); United States v. Morgan, 313 U. S. 409, 422

(1941). Movant does not cite a single case in which a grand jury’s criminal

investigation may not secure a material witness warrant for a “high ranking

government official” to provide testimony in furtherance of its criminal




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investigation.21 “I do not know of any privilege to exempt members of “congress

from the service, or the obligations of a subpoena in such cases.” Gravel, supra at

615.

       Additionally, “exceptional circumstances” exist, even if the “high-ranking

official” doctrine should not apply in this scenario. Here, Movant is the individual

with the specific information sought by the grand jury, and the information is

certainly material. The special purpose grand jury was convened to investigate

election interference by, inter alia, former President Trump by personally

telephoning Raffensperger, pressuring him to “find” 11,780 votes, and spreading

disinformation about election fraud in Georgia. Movant, a close confidant of Mr.

Trump, engaged in conduct that, according to other participants on the pertinent

phone call he made, was similar. Contrary to Movant’s assertion, no one else has

his “unique” knowledge in relation to the calls he made to Raffensperger, or the

motivation, preparation, and/or aftermath of those calls, and Movant’s post-



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     Movant also asserts that in order to secure his testimony, the State is
required to show Movant’s (1) “official bad faith”; (2) the information sought
from Movant “is essential to the case”; and (3) the information cannot be
obtained by less obtrusive means. Movant’s assertion in incorrect. The three-
pronged showing he outlines is expressly directed to obtaining the deposition of
an Executive office cabinet secretary for discovery purposes related to the
workings of her department. This showing is completely irrelevant in relation to
Movant’s material witness subpoena to appear before a grand jury conducting a
criminal investigation, where the hurdle of materiality has already been met.


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election claims of voter fraud. The fact that Movant’s claims about the content of

his telephone calls expressly contradict both Raffensperger’s and Sterling’s

claims puts the lie to Movant’s assertion that information about the contents of the

telephone calls “could easily be obtained from other people on the calls.” Br. at

23. Further, in its certification of material witness that is in the Court’s record, the

court below expressly found that Movant “is a necessary and material witness to

the Special Purpose Grand Jury investigation” who “questioned Secretary

Raffensperger and his staff about reexamining certain absentee ballots case in

Georgia in order to explore the possibility of a more favorable outcome for former

President Donald Trump.” Such an exhortation, when made to the highest-ranking

elections official in the state of Georgia, is unquestionably germane to an

investigation concerning possible disruptions to the lawful administration of

elections. Under these circumstances, Movant cannot reasonably argue that there

is “no need” for his testimony.

      Consequently, Movant’s exceptional circumstances claims present no basis

for granting the Expedited Motion to Quash the material witness subpoena for

Movant’s testimony before the grand jury.

                                   CONCLUSION

      Movant asserts that his arguments show that “all roads lead to quashal.” Br.

at 25. But not where, as here, all Movant’s roads are built on the shifting sands of


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erroneous legal arguments, inapplicable legal principles, and citations to caselaw

that fail to support any legal point being made. Indeed, the State submits there’s

not a solid road to be found in Movant’s Memorandum. Rather than fantasizing

about roads to quashal, Movant would be better served by consideration of

Thomas Jefferson’s maxim that “legislators ought not to stand above the law they

create but ought generally to be bound by it as are ordinary persons.” Gravel,

supra at 615. To that end, the State respectfully requests that this Court deny

Movant’s Expedited Motion to Quash the SPGJ’s material witness subpoena for

Movant’s testimony.

      Respectfully submitted, this 4th day of August 2022.

                                              FANI T. WILLIS
                                              DISTRICT ATTORNEY
                                              ATLANTA JUDICIAL CIRCUIT


                                              By:

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                      CERTIFICATE OF COMPLIANCE

     The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.)

in that it is double-spaced and composed in 14-point Times New Roman font.

     This 4th day of August 2022.



                         CERTIFICATE OF SERVICE

     I hereby certify the foregoing was served upon the following by email:


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     Dated this 4th day of August, 2022.


                        s/ F. McDonald Wakeford
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